Case 1:20-cr-20129-DMM Document 10 Entered on FLSD Docket 03/02/2020 FILED
                                                                     Pageby1 ofYH
                                                                                3                          D.C.



                                                                                         Feb 28, 2020

                              UNITED STATES DISTRICT COURT                                ANGELA E. NOBLE
                                                                                         CLERK U.S. DIST. CT.
                              SOUTHERN DISTRICT OF FLORIDA                               S. D. OF FLA. -MIAMI

        20-20129-Cfl~~J?LEBROOKS/MCALILEY
                                             18 us.c. § 951

  UNITED STATES OF AMERICA

  vs.

  HECTOR ALEJANDRO CABRERA FUENTES,

                         Defendant.
  - - -- - - -- -- - -- - - - '
                                           INDICTMENT

         The Grand Jury charges that:

         Beginning in or around March 2019, to on or about February 17, 2020, in Miami-Dade

  County, in the Southern District of Florida, and elsewhere, the defendant,

                        HECTOR ALEJANDRO CABRERA FUENTES,

  did knowingly act within the United States as an agent of a foreign government, specifically the

  Russian Federation, without prior notification to the Attorney General, as required by law, in

  violation of Title 18, United States Code, Section 951.

                                                       ATRUE~. ,                     J/
                                                       FOR.tPERSON




  MICHAEL THAKUR
  ASSISTANT UNITED STATES ATTORNEY
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                                            UNITED STATES DISTRICT COURT
                                            SOUTHERN DISTRICT OF FLORIDA

UNITED STATES OF AMERICA                             CASE NO.
vs.
                                                       CERTIFICATE OF TRIAL ATTORNEY*
HECTOR ALEJANDRO CABRERA FUENTES,
         Defendant.
----------------/                                      Superseding Case Information:


Court Division: (Select One)                                    New Defendant(s)       Yes                  No
                                                                Number of New Defendants
Miami X           _ Key West                                    Total number of counts
FTL -             WPB        FTP
        I do hereby certify that:
         I.       I have carefully considered the allegations of the indictment, the number of defendants, the number of probable
                  witnesses and the legal complexities of the Indictment/Information attached hereto.
        2.        I am aware that the information supplied on this statement will be relied upon by the Judges of this Court in
                  setting their calendars and scheduling criminal trials under the mandate of the Speedy Trial Act, Title 28 U.S.C.
                  Section 3161.
        3.        Interpreter:     (Yes or No)         No
                  List language and/or dialect
        4.        This case will take         5-6      days for the parties to try.
        5.        Please check appropriate category and type of offense listed below:

                  (Check only one)                                        (Check only one)

        I         0    to 5 days                                                      Petty
        II        6    to 10 days                                                     Minor
        III       11   to 20 days                                                     Misdem.
        IV        21   to 60 days                                                     Felony            X
        V         61   days and over

        6.        Has this case been previously filed in this District Court? (Yes or No)            No
        If yes:
        Judge:                                                         Case No.
                  (Attach copy of dispositive order)
        Has a complaint been filed in this matter?     (Yes or No)                      Yes
        If yes:
        Magistrate Case No.                            20-MJ-02247-CMM
        Related Miscellaneous numbers:                 --------------------------

        Defendant(s) in federal custody as of          February 17, 2020
        Defendant(s) in state custody as of

        Rule 20 from the District of
        Is this a potential death penalty case? (Yes or No)                 No

        7.        Does this case originate from a matter pending in the Northern Region of the U.S. Attorney's Office prior to
                  October 14, 2003? _ _Yes                    X        No

        8.        Does this case originate from a matter pending in the Central Region of the U.S. Attorney's Office prior to
                  September I , 2007?        Yes             X        No
                                        -                                   ~~-
                                                                 MICHAEL THAKUR
                                                                 ASSIST ANT UNITED STATES ATTORNEY
                                                                 FLORIDA BAR NO. 1011456


*Penalty Sheet(s) attached
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                                   UNITED ST ATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA

                                              PENAL TY SHEET

         Defendant's Name: HECTOR ALEJANDRO CABRERA FUENTES

         Case No: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

         Count#: 1

         Acting as an Agent of a Foreign Government

         Title 18 United States Code Section 951


i        *Max. Penalty: 10 Years' Imprisonment




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          *Refers only to possible term of incarceration, does not include possible fines, restitution,
                  special assessments, parole terms, or forfeitures that may be applicable.

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